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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER, and JOHN
   DOE,

                       Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES ALEX
   FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW                              Civil Action No. 3: 17-cv-00072-NKM
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, LOYAL WHITE KNIGHTS
   OF THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                      Defendants.



          MOTION FOR PRO HAC VICE ADMISSION OF KATHERINE M. CHENG
         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the
  Western District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court,
  and counsel of record in the instant proceeding, hereby move the Court for the admission of
Case 3:17-cv-00072-NKM-JCH Document 703 Filed 04/09/20 Page 2 of 4 Pageid#: 10029




  Katherine M. Cheng, Esq. to appear pro hac vice on behalf of the Plaintiffs in the above
  captioned case and in support thereof state as follows:

         1.      Ms. Cheng is an attorney with Boies Schiller Flexner LLP, 1401 New York Ave,

  NW, Washington, DC 20005, Tel: (202) 274-1180, Email: kcheng@bsfllp.com.

         2.      Ms. Cheng is qualified and licensed to practice law and is a bar member in good

  standing in the following jurisdictions: District of Columbia (Bar number – 1029444, Date of

  Admission – Nov. 6, 2015); Virginia (Bar Number – 87391, Date of Admission Dec. 3, 2014).

         3.      Ms. Cheng agrees to submit to and comply with the appropriate rules of procedure

  as required in the case for which she is applying to appear pro hac vice as well as the rules and

  standards of professional conduct applicable to all lawyers admitted to practice before this Court.

         WHEREFORE, for the reasons stated above, it is requested that this Court grant this

  motion and permit Katherine M. Cheng, Esq. to appear pro hac vice on behalf of Plaintiffs in the

  above captioned case, and to appear at hearings or trials in the absence of an associated member

  of the bar of this Court.


  Dated: April 9, 2020                                         Respectfully submitted,

                                                               /s/ Robert T. Cahill
                                                               Robert T. Cahill (VSB 38562)
                                                               COOLEY LLP
                                                               11951 Freedom Drive, 14th Floor
                                                               Reston, VA 20190-5656
                                                               Telephone: (703) 456-8000
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                                                               Counsel for Plaintiffs




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2020, I filed the foregoing with the Clerk of Court through the
  CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt                               James E. Kolenich
  David L. Hauck                                        Kolenich Law Office
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  W. Edward ReBrook                                     Counsel for Defendant Richard Spencer
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  Counsel for Defendants National Socialist
  Movement, Nationalist Front and Jeff Schoep

           I further hereby certify that on April 9, 2020, I also served the following non-ECF participants,
  via electronic mail, as follows:

  Elliott Kline a/k/a Eli Mosley                               Vanguard America
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                                                 Counsel for Plaintiffs




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